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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   INVENSAS CORPORATION,                       §
                                               §
         Plaintiff,                            §
                                               §
   v.                                          §                 No. 2:17-CV-00670-RWS-RSP
   SAMSUNG ELECTRONICS CO., LTD.,              §
   et al.,                                     §
                                               §
         Defendants.                           §



                         AMENDED DOCKET CONTROL ORDER

        The Court ORDERS the following schedule of deadlines is in effect:



     Current Date              New Date            Event
                          (If Different From
                            Current Date) 

   February 19, 2019                               *Jury Selection – 9:00 a.m. in Marshall,
                                                   Texas before Judge Robert Schroeder

   January 28, 2019                                *Pretrial Conference – 9:00 a.m. in Marshall,
                                                   Texas before Judge Roy Payne

   January 17, 2019                                *Notify Court of Agreements Reached
                                                   During Meet and Confer

                                                   The parties are ordered to meet and confer on
                                                   any outstanding objections or motions in
                                                   limine. The parties shall advise the Court of
                                                   any agreements reached no later than 1:00
                                                   p.m. three (3) business days before the pretrial
                                                   conference.

   January 15, 2019                                *File Joint Pretrial Order, Joint Proposed Jury
                                                   Instructions, Joint Proposed Verdict Form,
                                                   Responses to Motions in Limine, Updated
                                                   Exhibit Lists, Updated Witness Lists, and
                                                   Updated Deposition Designations
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   January 8, 2019                            *File Notice of Request for Daily Transcript
                                              or Real Time Reporting.

                                              If a daily transcript or real time reporting of
                                              court proceedings is requested for trial, the
                                              party or parties making said request shall file
                                              a notice with the Court and e-mail the Court
                                              Reporter,        Shelly        Holmes,       at
                                              shelly_holmes@txed.uscourts.gov.

   January 4, 2019                            File Motions in Limine

                                              The parties shall limit their motions in limine
                                              to issues that if improperly introduced at trial
                                              would be so prejudicial that the Court could
                                              not alleviate the prejudice by giving
                                              appropriate instructions to the jury.

   January 4, 2019                            Serve Objections      to    Rebuttal   Pretrial
                                              Disclosures

   December 18, 2018                          Serve Objections to Pretrial Disclosures; and
                                              Serve Rebuttal Pretrial Disclosures

   December 11, 2018                          Serve Pretrial Disclosures (Witness List,
                                              Deposition Designations, and Exhibit List) by
                                              the Party with the Burden of Proof

   November 13, 2018   November 19, 2018      *File Motions to Strike Expert Testimony
                                              (including Daubert Motions)

                                              No motion to strike expert testimony
                                              (including a Daubert motion) may be filed
                                              after this date without leave of the Court.

   November 13, 2018   November 19, 2018      *File Dispositive Motions

                                              No dispositive motion may be filed after this
                                              date without leave of the Court.

                                              Motions shall comply with Local Rule CV-56
                                              and Local Rule CV-7. Motions to extend page
                                              limits will only be granted in exceptional
                                              circumstances.   Exceptional circumstances
                                              require more than agreement among the
                                              parties.



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    November 6, 2018       November 12, 2018         Deadline to Complete Expert Discovery

    October 12, 2018       October 26, 2018          Serve Disclosures     for   Rebuttal   Expert
                                                     Witnesses

    September 18, 2018                               Deadline to Complete Fact Discovery and
                                                     File Motions to Compel Discovery

    September 18, 2018     September 28, 2018        Serve Disclosures for Expert Witnesses by
                                                     the Party with the Burden of Proof

    September 6, 2018                                Deadline to Complete Mediation

                                                     The parties are responsible for ensuring that a
                                                     mediation report is filed no later than 5 days
                                                     after the conclusion of mediation.

    August 30, 2018                                  Comply with P.R. 3-7 (Opinion of Counsel
                                                     Defenses)

    August 22, 2018                                  *Claim Construction Hearing – 9:00 a.m. in
                                                     Marshall, Texas before Judge Roy Payne
  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
  shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

  Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
  completed briefing (opening motion, response, reply, and if applicable, surreply),
  excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be
  single-sided and must include the CM/ECF header. For expert-related motions, complete
  digital copies of the relevant expert report(s) and accompanying exhibits shall submitted on a
  single flash drive. These copies shall be delivered as soon as briefing has completed.

  Motions for Continuance: The following excuses will not warrant a continuance nor justify
  a failure to comply with the discovery deadline:

  (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

  (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
         unless the other setting was made prior to the date of this order or was made as a special
         provision for the parties in the other case;

   (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that
         itwas impossible to complete discovery despite their good faith effort to do so.




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   Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on the
   DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
   include a proposed order that lists all of the remaining dates in one column (as above) and the
   proposed changes to each date in an additional adjacent column (if there is no change for a
   date the proposed date column should remain blank or indicate that it is unchanged). In
   other words, the DCO in the proposed order should be complete such that one can clearly see all
   the remaining deadlines and the changes, if any, to those deadlines, rather than needing to also
   refer to an earlier version of the DCO.
           SIGNED this 3rd day of January, 2012.
         SIGNED this 22nd day of August, 2018.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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